       Case:17-10177-SDB Doc#:71 Filed:02/15/18 Entered:02/15/18 11:47:11                                  Page:1 of 6
                                UNITED STATES BANKRUPTCY COURT
                                             Southern District of Georgia

In the matter of:                                                         )
                                                                          )        Chapter:     7
Lindsay Elaine Thames,                                                    )
                                                                          )        Case No.: 17-10177
                                             Debtor(s)                    )
                                                                          )
Lindsay Elaine Thames,                                                    )
                                                                          )
                                                                          )
                                             Movant                       )
                                                                          )
                                                                          )
Auto Money Title Pawn,                                                    )
                                                                          )
                                             Respondent(s)                )
                                                                          )


                                         NOTICE OF MOTION TO AVOID LIEN

Movant has filed papers with the court to avoid your lien in debtor's property.

Your rights may be affected. You should read these papers carefully and discuss them with your attorney.

If you do not have an attorney, you may wish to consult one.

If you have legal grounds to oppose the avoidance of your lien, or if you wish the Court to consider your views on the
motion, you must file a written request for a hearing with the Clerk of the Bankruptcy Court before the expiration of thirty
(30) days from the date stated in the certificate of service.

If you mail your request for a hearing to the court, you must mail it early enough so that it will be received within the time
referenced above.

Any request for a hearing must also be mailed to the moving party and all other persons indicated in the certificate of
service attached to these pleadings.

If a timely request is filed, you will receive notice of the date, time and place of hearing.

If you or your attorney do not take these steps, the Court will decide that you do not oppose the relief sought in the
motion and will enter an order avoiding your lien.




 Date Feb 15, 2018                                                              /s/ Matthew James Duncan
                                                                                     Attorney for Movant




Lucinda Rauback, Clerk
United States Bankruptcy Court
Southern District of Georgia

[Rev. 12/2012]
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                                  UNITED STATES BANKRUPTCY COURT
                                        Southern District of Georgia
                                             Augusta Division

                                                                        Case: 17-10177-SDB
In re:
         Lindsay Elaine Thames,                                              Chapter: 7
                                      Debtor.
                                                                       Judge Susan D. Barrett

Lindsay Elaine Thames,
                                      Movant,

vs.

Auto Money Title Pawn,
                                      Respondent.


                MOTION TO AVOID NON-POSSESSORY, NON-PURCHASE MONEY LIEN
                        AND NOTICE AND OPPORTUNITY FOR HEARING

         Movant, Lindsay Elaine Thames, files this motion pursuant to 11 U.S.C. § 522(f) to avoid a non-

possessory, non-purchase money lien held by Respondent, Auto Money Title Pawn. In support of this motion,

Movant states as follows:

         1.    Movant commenced this case on February 6, 2017, by filing a voluntary petition for relief under

Title 11 of the United States Code.

         2.    Prior to the commencement of this case, Movant obtained a loan from Respondent. As security

therefore, Movant executed a security agreement granting to Respondent a security interest in personal

property; said property is held by Movant primarily for the use of Movant’s family and household. The

estimated amount of the loan at the commencement of this case was $4,981.00.

         3.    The personal property consists of household goods within the meaning of § 522(f)(4)(B) or other

personal property within the meaning of § 522(f)(1)(B).

         4.    The money borrowed from Respondent does not represent any part of the purchase money of any

of the personal property covered in the security agreement.

         5.    The existence of Respondent’s lien on Movant’s personal property impairs exemptions to which
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Movant would be entitled under § 522(b).

       WHEREFORE, Movant requests an Order avoiding the non-possessory, non-purchase money lien held

by Respondent on any and all personal property of Movant in its entirety, and for such additional relief as may

be just and proper.

       Respectfully submitted on February 15, 2018.
                                                                     /s/ Matthew James Duncan
                                                             Matthew James Duncan | GA Bar #: 143397
                                                          2602 Commons Blvd., Ste. A, Augusta, GA 30909
                                                                 P: 706-755-2928 | F: 706-664-0407
                                                                 office@matthewjamesduncan.com
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                                  UNITED STATES BANKRUPTCY COURT
                                        Southern District of Georgia
                                             Augusta Division

                                                                     Case: 17-10177-SDB
In re:
         Lindsay Elaine Thames,                                           Chapter: 7
                                     Debtor.
                                                                    Judge Susan D. Barrett

Lindsay Elaine Thames,
                                     Movant,

vs.

Auto Money Title Pawn,
                                     Respondent.


                                                   ORDER

         Before this Court is Movant’s Motion to Avoid Non-Possessory, Non-Purchase Money Lien and Notice

and Opportunity for Hearing regarding a non-possessory, non-purchase money lien held by Respondent on

Movant’s personal property.
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                                                                           Chapter 7 Case: 17-10177-SDB

                                                                                                   Page 2

       After proper notice and Respondent’s having failed to timely respond, the Court finds that the lien

impairs the exemptions to which Movant would otherwise be entitled pursuant to 11 U.S.C. § 522(b), and

should be voided in its entirety pursuant to 11 U.S.C. § 522(f)(1).

       Therefore, it is hereby ORDERED that the non-possessory, non-purchase money lien held by

Respondent on Movant’s personal property is voided in its entirety.

                                           [END OF DOCUMENT]

             /s/ Matthew James Duncan
     Matthew James Duncan | GA Bar #: 143397
  2602 Commons Blvd., Ste. A, Augusta, GA 30909
         P: 706-755-2928 | F: 706-664-0407
         office@matthewjamesduncan.com
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                                  UNITED STATES BANKRUPTCY COURT
                                        Southern District of Georgia
                                             Augusta Division

                                                                      Case: 17-10177-SDB
In re:
         Lindsay Elaine Thames,                                            Chapter: 7
                                     Debtor.
                                                                     Judge Susan D. Barrett

Lindsay Elaine Thames,
                                     Movant,

vs.

Auto Money Title Pawn,
                                     Respondent.


                                        CERTIFICATE OF SERVICE

       I hereby certify that copies of Notice of Motion to Avoid Lien; Motion to Avoid Non-Possessory, Non-
Purchase Money Lien and Notice and Opportunity for Hearing; and proposed Order on Motion to Avoid Non-
Possessory, Non-Purchase Money Lien and Notice and Opportunity for Hearing were served on February 15,
2018, by CM/ECF electronic notice, on the following:

                                                                   James C. Overstreet, Jr.
                Office of the U.S. Trustee                 jco@klosinski.com; jlund@klosinski.com;
             ustpregion21.sv.ecf@usdoj.gov                    joverstreet@ecf.epiqsystems.com;
                                                               jco-trustee@ecf.inforuptcy.com

and on February 15, 2018, by placing the same for collection and mailing, first-class postage prepaid, on
February 15, 2018, on the following:

                                           Auto Money Title Pawn
                                             Attn: Officer/Agent
                                         2609-A Peach Orchard Road
                                             Augusta, GA30906

         Respectfully submitted on February 15, 2018.
                                                                   /s/ Matthew James Duncan
                                                           Matthew James Duncan | GA Bar #: 143397
                                                        2602 Commons Blvd., Ste. A, Augusta, GA 30909
                                                               P: 706-755-2928 | F: 706-664-0407
                                                               office@matthewjamesduncan.com
